      Case 2:19-cv-01090-WBS-KJN Document 24 Filed 12/23/21 Page 1 of 2


DONALD CLOYCE WAGDA (CA SBN 257254)
547 Blackhawk Club Drive
Danville, California 94506
Telephone: (650) 644-7151
donald@wagdalaw.com

Pro Se Plaintiff and Qui Tam Relator




                             IN THE UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                                Case No. 2:19-cv-1090-WBS-KJN
ex rel. DONALD CLOYCE WAGDA,                             PLAINTIFF’S NOTICE OF DISMISSAL
                                                         PURSUANT TO FEDERAL RULE OF CIVIL
               Plaintiff,                                PROCEDURE 41(A)
                vs.
STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, a corporation, and
STATE FARM FIRE AND CASUALTY
COMPANY, a corporation, and
STATE FARM GENERAL INSURANCE
COMPANY, a corporation, and
STATE FARM LLOYDS, INC., a corporation, and
DOES 1-100, jointly and severally,
               Defendants.



       PLEASE TAKE NOTICE:

       Pursuant to F.R.Civ.P. 41(a), this Action is dismissed by the Plaintiff, without prejudice, in its

entirety. No opposing party has been served with the Complaint; thus, none has filed an answer or a

motion for summary judgment. The United States has declined to intervene in this Action (ECF 20), and

is expected to file separately its written consent to this dismissal in accordance with the Order Re Notice

              PLAINTIFF’S NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)             1
          Case 2:19-cv-01090-WBS-KJN Document 24 Filed 12/23/21 Page 2 of 2


 1 of the United States of Election to Decline Intervention (ECF 21).
 2   Dated: December 23, 2021
 3
 4                                                        /s/ Donald Cloyce Wagda
                                                          Plaintiff/Relator
 5
 6
 7
 8

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
30
              PLAINTIFF’S NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(A)
31                                                                                                2
